Case 9:22-cv-80235-RAR Document 32 Entered on FLSD Docket 08/04/2022 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-80235-RAR

  NATHAN J. ROWAN,
  individually and on behalf of those similarly situated,

         Plaintiff,

  v.

  UNITED ENROLLMENT SERVICES, LLC, et al.,

        Defendant.
  __________________________________________/

                         ORDER OF DISMISSAL AS TO DEFENDANT
                          UNITED ENROLLMENT SERVICES, LLC

         THIS CAUSE is before the Court on the parties’ Joint Stipulation of Voluntary Dismissal

  with Prejudice as to Defendant United Enrollment Services, LLC [ECF No. 31], filed on August

  2, 2022. Being fully advised, it is

         ORDERED AND ADJUDGED that the above-styled case is DISMISSED with prejudice

  as to Plaintiff’s individual claims in this action against United Enrollment Services, LLC, and is

  DISMISSED without prejudice as to any claims of the putative class members against United

  Enrollment Services, LLC. Plaintiff and United Enrollment Services, LLC shall bear their own

  respective attorneys’ fees and costs.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 3rd day of August, 2022.




                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
